                           UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


In re:                                                       Case No. 11-44385-WSd

ANGELA SWORD LEWIS,                                          Chapter 7
THOMAS K. LEWIS,
                                                             HON. WALTER SHAPERO
      Debtors.
______________________________________/



                            UNITED STATES TRUSTEE’S
                      STATEMENT PURSUANT TO 11 U.S.C. § 704(b)(2)

         Daniel M. McDermott, United States Trustee for Michigan and Ohio, pursuant to 11 U.S.C.

§ 704(b)(2), states as follows:

         1.     The above-named Debtors commenced this case by filing a voluntary petition under

Chapter 7 of the Bankruptcy Code on February 22, 2011.

         2.     The Debtors are individuals and have what appears to be primarily consumer debt.

         3.     After reviewing materials filed and provided by the Debtors, the United States Trustee

determined that the presumption of abuse under § 707(b)(2) arises in this case.

         4.     Accordingly, the United States Trustee filed a statement pursuant to § 704(b)(1)

indicating that this case is presumed to be an abuse under § 707(b)(2).

         5.     11 U.S.C. § 704(b)(2) provides:

         The United States trustee (or bankruptcy administrator, if any) shall, not later than
         30 days after the date of filing a statement under paragraph (1), either file a motion
         to dismiss or convert under section 707(b) or file a statement setting forth the reasons
         the United States trustee (or the bankruptcy administrator, if any) does not consider
         such a motion to be appropriate, if the United States trustee (or the bankruptcy
         administrator, if any) determines that the debtor's case should be presumed to be an
         abuse under section 707(b) and the product of the debtor's current monthly income,
         multiplied by 12 is not less than [the applicable median family income amount].

         6.     Based upon currently available information the United States Trustee will not file a

motion to dismiss this case under § 707(b)(2), because the United States Trustee does not consider

such a motion to be appropriate.




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       7.      Specifically, notwithstanding that the presumption of abuse arose under § 707(b)(2),

Debtors have demonstrated and documented that compelling circumstances (decrease in income)

exist in this case that justify adjustment to the Debtors’ monthly disposable income (“MDI”) and

that, after such adjustment, the Debtors’ monthly income would be below the trigger amount for the

presumption to arise.



       WHEREFORE, based upon the foregoing, the United States Trustee does not consider a

motion to dismiss under 11 U.S.C. § 707(b)(2) to be appropriate under the circumstances.


                                                       Respectfully submitted,

                                                       DANIEL M. McDERMOTT
                                                       UNITED STATES TRUSTEE
                                                       Region 9




                                             By         /s/ Claretta Evans (P36933)
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Dated: May 6, 2011




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